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                  Placeholder For
                      Exhibit 2
           (Pursuant to Local Rule 1.11(d))
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       Pursuant to the revised Local Rule 1.11(d) (eff. Feb. 1, 2021), which applies to “item[s]

that the filing person knows or reasonably should know another person considers

confidential,” the United States hereby “file[s] instead of the item[s] a placeholder only

identifying the item[s]” as follows:

   Document As It Appears In PPOA’s              Beginning Bates-Number of Document As
  Production, Identified by the Beginning               It Appears Within Exhibit 2
  Bates-Number and Claw-Back Request                   to the United States’ Petition

 Attachment A to Claw-Back Request Dated CID201
 July 28, 2020

 PPOA-EMAILS-00010266                           CID203

 Claw-Back Request Dated August 24, 2020
 PPOA-EMAILS-00010268                           CID205

 Claw-Back Request Dated August 24, 2020
 PPOA-EMAILS-00010278                           CID207

 Claw-Back Request Dated August 24, 2020
 PPOA-EMAILS-00010280                           CID209

 Claw-Back Request Dated August 24, 2020
 PPOA-EMAILS-00010282                           CID211

 Claw-Back Request Dated August 24, 2020
 PPOA-EMAILS-00010284                           CID213

 Claw-Back Request Dated August 24, 2020
